       Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-KDE-MBN        6-191072
                                Document    FiledFiled
                                                  05/22/23    Page
                                                       11/03/17    1 of15of 5
                                                                 Page



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                 MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION

                                                             SECTION “N” (5)
 THIS DOCUMENT RELATES TO:
 ALL CASES


               STIPULATION OF TERMS RELATED TO DEFENDANTS,
                      SANOFI AND AVENTIS PHARMA S.A.


       IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs in this MDL

(“Plaintiffs”), through the Plaintiffs’ Steering Committee (“PSC”), and Defendants, Sanofi S.A.,

Aventis Pharma S.A., Sanofi-Aventis U.S. LLC, and Sanofi US Services Inc., through their

undersigned counsel (“Defense Counsel”), that the following terms shall apply to all cases in this

MDL:

   1. Sanofi S.A. and Aventis Pharma S.A. (“French Defendants”) are dismissed without

       prejudice and agree to tolling of any statute of limitations beginning from the date of

       dismissal. Any statute of limitations defense that existed as of the filing dates of the

       original complaints naming the French Defendants shall be preserved. Plaintiffs may

       rename the French Defendants at any time. In such case, Defense Counsel will accept

       service on behalf of the French Defendants, without the need to engage in the formal

       service of process, and the French Defendants will answer or otherwise respond within

       twenty (20) days.

   2. Sanofi-Aventis U.S. LLC and Sanofi US Services Inc. (“Defendants”) will include foreign

       sources and locations when responding to discovery propounded by the Plaintiffs’ Steering

       Committee (“PSC”), and will not object to discovery based on the dismissal of the French
   Case
Case    3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN        6-191072
                            Document    FiledFiled
                                              05/22/23    Page
                                                   11/03/17    2 of25of 5
                                                             Page



   Defendants. Objections to discovery from such sources may include those objections

   available under the Federal Rules; however, dismissal of the French Defendants (i.e., their

   status as a “non-party”) shall not be a factor when evaluating Defendants’ proportionality

   objections to discovery. Defendants agree to cooperate in good faith to respond to

   discovery and produce documents, information and witnesses, and to do so in a timely

   fashion.

3. All documents produced from such sources are subject to the rebuttable presumption of

   authenticity set forth in Case Management Order No. 5 (“CMO 5”) (General Discovery

   Protocol – Sanofi Defendants) (Rec. Doc. 762).

4. Nothing in this Stipulation obligates Defendants to violate the laws of any country;

   however, Defendants will agree to cooperate with the service and the production of

   discovery and witnesses, and will not require discovery to proceed through The Hague

   Evidence Convention, nor will Defendants object to discovery on the basis of the French

   Blocking Statute or the any foreign data protection acts, including the French Data

   Protection Act. In the event the Plaintiffs rename the French Defendants, the Defendants

   agree to waive, and will not raise, any objections based on foreign blocking statutes or

   foreign data protection laws.

5. Depositions of current or former French Defendant employees shall be conducted subject

   to CMO 5 and the Deposition Protocol to be entered by the parties. Defendants agree to

   produce current employees of the French Defendants, and without regard as to which

   corporate entities by which they are employed. Defendants agree to produce these

   witnesses for deposition in either the USA or Europe. The deposition location will be

   selected at the sole discretion and preference of the witness. The selection of such



                                            2
   Case
Case    3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN        6-191072
                            Document    FiledFiled
                                              05/22/23    Page
                                                   11/03/17    3 of35of 5
                                                             Page



   employees for deposition will be determined after good faith meet and confers between the

   parties on the witnesses’ materiality and availability. Defendants cannot guarantee control

   of former employees, but will not preclude Plaintiffs’ effort to depose former employees

   on this basis; and Defendants will assist in determining their location and contacting the

   witness, to the extent possible. Plaintiffs may use up to 6 of their 30 depositions provided

   for in CMO 5 on depositions of current or former employees of the French Defendants.

   Plaintiffs may conduct these depositions pursuant to FRCP, Rule 30(b)(6). The parties

   agree to meet and confer in good faith on any request for additional depositions. For good

   cause shown, the Plaintiffs may request additional depositions and Defendants may object,

   subject to a ruling by the Court.

6. Defendants shall not object to the admissibility of any evidence or argument at trial on the

   basis of the dismissal of the French Defendants or on the basis that documents came from

   foreign sources.

7. For purposes of the Eastern District of Louisiana bellwether trials, Defendants stipulate

   that they are a “manufacturer” within the meaning of Louisiana Products Liability Act (or

   other applicable state product liability statute), and Defendants shall not assert that the

   French Defendants are necessary or proper Defendants for purposes of trial.

8. Defendants are prohibited from moving to preclude references to the French Defendants’

   or their predecessor entities’ participation and role in the development, submission for

   approval, and commercialization of Taxotere, during preliminary proceedings and trial.

9. Defendants shall provide written attestation that remaining Defendants are adequately

   capitalized to fund a judgment or settlement.




                                            3
      Case
   Case    3:23-cv-00782-YY Document
        2:16-md-02740-KDE-MBN        6-191072
                               Document    FiledFiled
                                                 05/22/23    Page
                                                      11/03/17    4 of45of 5
                                                                Page



   10. French Defendants shall withdraw their Motion to Dismiss for Lack of Personal

      Jurisdiction (Rec. Doc. 346).

   11. Plaintiffs shall withdraw their Motion to Compel (Rec. Doc. 626) further responses to the

      jurisdictional discovery.

   12. Plaintiffs shall withdraw the Rule 30(b)(6) Deposition Notice re jurisdictional discovery.

   13. Defendants shall withdraw the Motion for Protective Order based on the French

      Impediments (Rec. Doc. 542).

   14. This Stipulation shall apply to all cases filed, transferred or pending in the MDL.

   15. Plaintiffs’ MDL leadership must use its best efforts to coordinate with and have the terms

      of this Stipulation applied in any state court litigation if possible.

   16. Defendants agree to cooperate in moving discovery forward and the Plaintiffs agree to

      reasonably limit their discovery.

   17. Defendants shall withdraw the Motion for Disclosure of Non-Party Interested Entities or

      Persons (Rec. Doc. 559).



Dated: November 3, 2017                               Respectfully submitted,

FOR THE PLAINTIFFS’ STEERING COMMITTEE:

/s/ Christopher L. Coffin                              /s/ Karen B. Menzies
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Plaintiffs’ Co-Lead Counsel                            Plaintiffs’ Co-Lead Counsel




                                                 4
       Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-KDE-MBN        6-191072
                                Document    FiledFiled
                                                  05/22/23    Page
                                                       11/03/17    5 of55of 5
                                                                 Page



   FOR THE SANOFI DEFENDANTS:

   /s/ Jon Strongman
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   Aventis Pharma S.A., Sanofi-Aventis
   U.S. LLC, and Sanofi US Services Inc.




                                    CERTIFICATE OF SERVICE

       I hereby certify that, this 3rd day of November, 2017, I have electronically filed a copy of

the above and foregoing with the Clerk of Court using the ECF system, which sent notification of

such filing to counsel of record.



                                                    /s/ Christopher L. Coffin




                                                5
